 

CaS€ 6206-CV-00561-DEW-CBW - DOCle€nt 194 Fi|€d 09/16/13 Page l Of 6 Page|D #Z 2761

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_ UNITEDVSTATES DISTRICT coURT SEP 16 2013

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CHRIsToPHER CALLAHAN' '~ ` ` -* DOCKET No.-6':06*Cv-0561~PM-KK

Plainriff ' , ' *
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vERsUs _ _ * JUDGE MINALDI
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GULF LoGIsTICs,L.L.C.,ET AL * MAGISTRATE JUDGE HILL
Defendant *

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MEMORANDUM ORDER

Before the court is a Motion to Dismiss the Plaintiff`s Claim for Punitive Damages [Doc.
184], filed by the defendants C & G Boats, Gulf Logistics LLC, and Gulf Logistics Operating,
Inc. (collectively “Gulf Logistics”) and a Motion to Dismiss the Plaintiffs’ Clairn for Punitive
Damages [Doc. 185], filed by the defendant, Houston Casualty Co (“HCC”) (Gulf Logistics and
HCC will be referred to collectively as “Defendants”). The plaintiff, Christopher Callahan,
timely filed oppositions to both motions [Docs. 189, 190], to Which the Defendants filed replies
[Docs. 192, 193]. F or the following reasons, the Defendants’ motions are DENIED.

BACKGROUND

This case arises out of a maritime tort claim against Gulf Logistics and several other

defendants, in Which Mr. Callahan allegedly sustained injuries while trying to load his personal

belongings into a personnel transfer basket.]

 

1 Pl.’s Cornpl., [Doc. l], at W lO-l3. Mr. Callahan Was using the personnel basket in order to be
transferred from a Ship to an offshore rig. Id. at 1] 7.

 

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LAW AND ANALYSIS

The central issue herein is whether 33 U.S.C. §9(_)5(b),2 a provision of the .Longshoremen
and Harbor Workers’ Compensation Act (Ll-IWCA), in which the plaintiff grounds his ~ 7
complaint, permits the recovery of punitive damages in a negligence action for alleged injuries
sustained outside territorial waters. There is conflicting authority on this question. In Exxon
Mobl`l Corp. v. Minton, 285 Va. 115, 135 (2013), the Supreme Court of Virginia held that the
statutory language of § 905(b), Which states that “[t]he remedy in this subsection s_haM
exclusive of all other remedies against the vessel except remedies available under this [Actl”
necessarily requires the finding that “punitive damages are not a remedy made available within
the terms of the LHWCA”. Kahumoku v. Titan Mar., LLC, 486 F. Supp. 2d 1144, 1151 (D.
Haw. 2007), on the other hand, found that § 905(b)’s silence as to the “type of damages . . . does
not preclude an award of punitive damages under any general maritime or admiralty law theory.”
The Fifth Circuit has commented to some extent on the availability of non-pecuniary damages
under § 905(b). See, e.g., Randall v. Chevron U.S.A., Inc., 13 F.3d 888, 901-03 (5th Cir. 1994)
(citing Ferrara v. Fukuoka Senpaku K.K., 1991 U.S. Dist. LEXIS 4862 (D. Mass. 1991))
(permitting non-pecuniary damages for both pain and suffering and loss of society, and noting
“that the LHWCA does not explicitly limit damages recoverable to ‘pecuniary damages,’ as do
the DOHSA [Death on the High Seas Act] and the J ones Act”). The specific question of the
availability of punitive damages for a negligence action under § 905(b), however, is somewhat
unsettled

Prior to the 1972 amendments, a longshoreman had a maritime claim “against the
shipowner if [his] injury was caused by the ship’s unseaworthiness or negligence.” Scz'ndia

Steam Navz'gation Co. v. De Los Santos, 451 U.S. 156, 164 (1981). In 1972, Congress amended

 

2 Pl.’s Compi. [DOC. 1-1],ar111.

 

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the LHWCA, 86 Stat. 1251, as amended, 33 U.S.C. §§901-950, effectively barring longshoremen
or harbor Workers from recovering from shipowners for death or injury“r.esulting from a breach

~ of the duty of seaworthiness See. 33 U.S.C. § 905(b). § 905(b),- however, preserved.a worker’s » 7
right to recover in an action sounding in negligence3

The defendants rest their argument regarding punitive damages heavily on the opinion of
the court in Robertson v. Arco Oil and Gas Co., 766 F. Supp. 535 (W.D. La. 1991), a]j‘”’d on
other grounds, 948 F.Zd 132 (5th Cir. 1991). Robertson involved-an action for loss of
consortium under the LHWCA; the defendant argued that such a claim was not cognizable under
general maritime law. Robertson, 766 F. Supp. at 536. In holding that a claim for loss of
consortium Was not available under §905(b), this court stated that § 905(b) was not enacted to
create new remedies, but rather to “merely codifly] existing nonstatutory general maritime
negligence remedies against vessel owners and extend[] them to offshore workers.” Id. at 537
(citations omitted) (emphasis added).

The defendants argue that Robertson stands for the proposition that a claimant suing
under § 905(b) cannot recover any non-pecuniary damages, including punitive damages This
court does not read Robertson so broadly; however, even if it did, the Supreme Court’s recent
opinion in Atl. Souna'ing Co. v. Townsena’, 557 U.S. 404 (2009) alters the analytical foundation

upon which the reasoning in Robertson was laid.

 

3 See 33 U.S.C. §905(b), stating, in pertinent part,
In the event of injury to a person covered under this Act caused by the negligence of a vessel,
then such person, or anyone otherwise entitled to recover damages by reason thereof, may bring
an action against such vessel as a third party in accordance with the provisions of section 33 of
this Act [33 USCS § 933], and the employer shall not be liable to the vessel for such damages
directly or indirectly and any agreements or warranties to the contrary shall be void . . . . The
liability of the vessel under this subsection shall not be based upon the warranty of seaworthiness
or a breach thereof at the time the injury occurred. The remedy provided in this subsection shall
be exclusive of all other remedies against the vessel except remedies available under this Act.

 

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At the time Robertson was decided, there were some open questions as to which
nonpecuniary losses were recoverable under general maritime law after Sea-Land Services, Inc.
v. Gaudet, 414 U.S. 573 (1974). In Gaudet, the Supreme Court allowed a claimant to seek
recovery for loss of society, a nonpecuniary loss, where the deceased husband was a
longshoreman who died in territorial waters. Ia’. at 591. The Supreme Court thereafter extended
this right to the dependents of injured longshoremen American Export Co. v. Alvez, 446 U.S.
274 (1980). However, in Miles v. Apex` Marine Corp., 498 U.S. 19 (1990), the United States
Supreme Court “1imited the application of the Gaudet/Alvez right to recover consortium strictly
to longshoremen injured in territorial waters,” Rol)ertson, 766 F. Supp. at 539 (citing Miles, 111
S. Ct. at 325). The Rol)ertson court, relying heavily on Miles, held that the plaintiff, whose
injury occurred outside territorial waters, could not recover damages for loss of consortium under
§ 905(b). Id. However, the Rol)ertson opinion, though not dispositive, should not be read as a
per se bar on the recovery of all nonpecuniary damages under the LHWCA.

As the plaintiff notes in his opposition, the court recently stated that “in actions brought
under § 905(b), an injured LHWCA covered employee may recover those items of damages
which are recoverable under the general maritime law, including . . . pain and suffering.” Baham
v. Nabors Drilling USA, LP, 721 F. Supp. 2d 499, 514-15 (W.D. La. 2010). Thus, Robertson
may not be read as a preclusion of all nonpecuniary damages under § 905(b).

The defendants, however, ably note that “the reasoning of Miles, Murray, and Rol)ertson
is that uniformity compels that non-pecuniary damages not recoverable under the J ones Act
should not be recoverable under a [§] 905(b) claim either.”4 However, accepting this premise as

true, the inverse must also be true: that damages recoverable under the .lones Act are recoverable

 

4 Defendant"s Reply to Plaintiff`s Opposition to Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiff`s
Claim for Punitive Damages [Doc. 192], at 11 2.

 

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under § 905(b). The Supreme Court’s recent pronouncement in Atl. Sounding Co. v. Townsend,
557 U.S. 404 (2009) Would seem to militate against the defendants’ position. l

The question presented in Townsend was “whether an injured seaman may,recover '
punitive damages for his employer’s_willful failure to pay maintenance and cure.” Id. at 407.
The petitioners therein argued that Miles precluded recovery by injured seamen of any damages
not available under the J ones Act. The Court disagreed, noting that, “[h]istorically, punitive
damages have been available and awarded in general maritime actions, including some in
maintenance and cure. [The Court found] nothing in Miles or the J ones Act [that] eliminate[d]
that availabiiiry.” ld. 5

Further, the Court in Townsend dispensed with the petitioners’ argument that Miles
precluded the availability of punitive damages under general maritime law, stating that a reading
which interprets Miles as “1imit[ing] recovery in maritime cases involving death or personal
injury to the remedies available under the J ones Act and the Death on the High Seas Act
(DOHSA) . . . is far too broad.” Townsend, 557 U.S. at 418-19 (citing 46 U.S.C. §§ 30301-
30306). “[B]y providing a remedy for wrongful death suffered on the high seas or in territorial
waters, [Miles recognized that] the J ones Act and DOHSA displaced a general maritime rule that
denied any recovery for wrongful death.” Id. at 419 (citing Miles, 498 U.S. at 23-24). Thus, the
Court in Miles was tasked only with determining whether statutory maritime law such as the
J ones Act and DOHSA expanded the relief previously available under general maritime law. ld.

Discussing such relief, the Court notes that punitive damages “were well established before the

 

5 The Court took note of the previous conflicting pronouncements from several Courts of Appeal,
including that of the Fifth Circuit, finding them unpersuasive Townsend, 557 U.S. at 408 (citing
Guevara v. Maritime overseas Corp., 59 F.3d 1496 (5th Cir. 1995) (wherein the Fifth Circuit held that
punitive damages were not available in an action for maintenance and cure under the J ones Act per the
“uniformity principle” set forth in Miles)).

 

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passage of the Jones Act.” Id. at 420 (intemal citations omitted). As such, these were damages
previously available as part of general maritime law, and the availability of such damages was
not altered by the enactment of § 905(b). Ultimately, the Supreme Court finds that “the
availability of punitive damages for maintenance and cure actions is entirely faithful to these
‘general principles of maritime tort law,’ and no statute casts doubt on their availability under
general maritime law.” Id. at 421.

As a result of the Supreme Court’s recent assertion in Townsend, and its clarification of
its holding in Miles, it seems clear that punitive damages are available for actions under general
maritime law unless Congress has expressly forbade such availability This court finds nothing
in the language of § 905(b) which could be construed as so limiting the availability of punitive
damages in a negligence action under the LHWCA.6 Accordingly,

lT lS ORDERED that Defendants’, Gulf Logistics, L.L.C., Gulf Logistics Operating,
lnc., C&G Boats, lnc., and Houston Casualty Company, Rule l2(b)(6) Motion to Dismiss

Plaintiff` s Claim for Punitive Damages is hereby DENIED.

Lake Charles, Louisiana, this § ltv day of §,MM , 2013.

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PATRICIA MINALDI
UNITED sTATEs DisTRiCT JUDGE

 

6 lt should be noted that the court is aware that at least one other court in this circuit has reached a
contrary conclusion on this issue. See ln re.' ]nt ’l Marine, L.L.C., 2013 U.S. Dist. LEXIS 91370, 30 (E.D.
La. 2013) (holding that under Scarborough v. Clemco Indus., 391 F.3d 660 (5th Cir. 2004), a seaman and
his spouse are barred from seeking punitive damages . . . from a non-employer third party.”). However,
the court therein acknowledged that “[t]he reasoning employed in Townsend casts doubt on the continued
applicability of Scarborough.” Id. at 31, n. 10.

